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                                                        FLOOR NOTES
                                              10018585 SCHWARK, KYLE JEFFREY

            DATE         TIME     LOCATION   NARRATIVE
            02/26/2014   05:24:08 JAIL       HOLDIN A TOWEL OR SHEET OVER THE BACK OF HIS NECK. J11
            02/26/2014   04:53:58 JAIL       SEEMS TO THINK HIS FURLOUGH IS STILL IN EFFECT. CLAIMS WE ARE VIOLATING HIS
                                              RIGHTS BY NOT CALLING 911 TO GET HIM HIS MEDS. RELATIVELY CALM WHEN NOBODY IS
                                              IN EARSHOT. J11
            02/26/2014   04:53:02 JAIL       ATTEMPTED TO TALK TO l/M. KEPT TALKING OVER ME. TOLD IF HE WASN'T GOING TO
                                              LISTEN TO ME THEN I WAS WALKING AWAY. I GOT ABOUT 3 WORDS AND HE
                                              INTERUPPTED. WALKED AWAY. J11
            02/26/2014   04:52:37 JAIL       KEPT HITTING THE INTERCOM. TOO LOUD. J11 BACK TO SPEAK TO l/M
            02/26/2014   00:44:04 JAIL       SAYS LAST TIME HE WAS HERE WE REFUSED TO GIVE HIM HIS MEDS AND "WE" BROKE HIS
                                              NECK. AGAIN, TOLD MEDICAL WILL SEE HIM IN THE MORNING. J11
            02/26/2014   00:43:21 JAIL       CALLED INTO CONTROL ASKING TO SPEAK WITH SOMEONE THAT CAN MAKE A DECISON
                                              ABOUT HIS MEDICATIONS. TOLD MEDICAL WILL SEE HIM IN THE MORNING.L J11
            02/25/2014 22:24:09 JAIL         REFUSEDED TO TELL ARRESTING OFFICERS WHERE HIS MEDICATIONS WERE SO THEY
                                              COULD BRING THEM WITH HIM. J11
            11/20/2013   14:25:27 MEDICAL    LE 11/13/13 1647 REVIEWED MEDICATIONS WITH INMATE. INMATE GIVEN HIS PM MEDS.
            11/19/2013   07:34:50            IM STATED THAT THE NURSE ALMOST KILLED HIM AND ALL THE CHARGES SHOULD BE
                                              THROWN OUT
            11/19/2013   07:33:32            J12 GAVE HIM HIS FURLOUGH PAPERS FROM S1 AT DENVER HEALTH ON 11-18-13 1700
            11/15/2013   14:31 :39           FURLOUGH EFFECTIVE@ 1427 PER SHERIFF 2
            11/15/2013   05:36:14 OTC        MOVE INMATE SCHWARK, KYLE JEFFREY 10018585 FROM MEDICAL TO OTC
            11/15/2013   00:43:52 MEDICAL    PER J9 DENVER GEN WILL BE ADMITTING l/M
            11/14/2013   22:12:59 MEDICAL    SPOKE WITH DENVER SO SERGEANTS DESK AT DEN GEN, INFORMED IN ROUTE. BED
                                              SPACE AVAILABLE. J9 TO MAINTAIN CUSTODY UNTIL ADMITTED.    J3
            11/14/2013   22:05:34 MEDICAL    J9 STATES IN ROUTE VIAAMBULANCE TO DENVER GENERAL.       J3
            11/14/2013   20:29:13 MEDICAL    RECIEVED CALL FROM J9, C6 VERTEBRAE FRACTURE, TO BE MOVED TO DEN GENERAL.
                                              J3
            11/14/2013   18:50:06 MEDICAL    SPAD/AMBULANCE AND J9 ARRIVING AT SUMMIT MEDICAL CENTER.       J3
            11/14/2013   18:20:48 MEDICAL    LE: SPAD CLEAR, IN ROUTE TO SUMMIT MEDICAL IN FRISCO @APPROXIMATELY 1750. S4
                                               NOTIFIED. LEFT VOICEMAIL W/ J2 FOR COVERAGE.   J3
                                                                                                                                             Case 1:15-cv-02507-JLK Document 65-3 Filed 05/08/17 USDC Colorado Page 1 of 2




Exhibit C
                                                                                                                          09/23/201510:14:18


                                                                                                              SCHWARK 000134
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                                            FLOOR NOTES
                                  10018585 SCHWARK, KYLE JEFFREY

DATE         TIME     LOCATION   NARRATIVE
11/14/2013   1S:19:5S MEDICAL    LE: IM LOADED INTO AMBULANCE, J9 TO GO IN AMBULANCE.        J3
11/14/2013   1S:1S:24 MEDICAL    LE: ON SCENE IN MEDICAL, IM COMBATIVE, RESTRAINED, ERB UNSUCCESSFULL(EMT
                                   STATED NOTTO ROLL IM OVER) EMTS SEDATED IM. PLACED ON BOARD SUCCESSFULLY
                                     J3
11/14/2013   17:45:55 MEDICAL    LE: HAD PRESUMPTIVE SIEZURE, FELL, HIT HEAD, BLEEDING, COMBATIVE. MEDICAL REQ
                                   SPAD ASAP. SPAD CALLED. S4 NOTIFIED. J3
11/14/2013 16:36:50 MEDICAL      CHECK OUT INMATE SCHWARK, KYLE JEFFREY 1001 S5S5 TO MEDICAL
11/14/2013 14:11:19 MEDICAL      VS TAKEN WHEN l/M ARRIVED IN MEDICAL 130/93, P-S2, T-97.6. BS 125. M2
11/14/2013 13:01:54 JAIL         l/M IS ALERT BUT NOT ORIENTATED X3
11/14/2013 13:00:51 MEDICAL      J13 S4 CLEAR OF MEDICAL M2 M3 J14 OBSERVING 1/M IN MEDICAL
11/14/2013 12:50:21 MEDICAL      l/M TAKEN TO MEDICAL S4 M3 J14 J16
11/14/2013 12:40:0S MEDICAL      l/M HAD OT SEZIURE M3 J13 J16 S4 INTO CHECK ON HIM
11/13/2013 16:47:52 JAIL         NURSE ADVISED AT 1644 THATTHEYARE STILL WORKING ON I/M'S MEDS J16
11/13/2013 09:05:09              NURSE NOTIFIED OF POSSIBLE DTS. SHE WILL GO TALK TO HIM
11/13/2013 06:56:2S JAIL         LE .000 AT 2330
11/12/2013 21:39:05 BOOKING      SAC .020 ON INTAKE. J15
06/05/2013 1S:44:47 JAIL         CALLED COMM, THEY ARE CLEARING THE WARRANT FROM CBI, OTHERWISE CLEAR BOTH
                                   VALID - J5
06/05/2013 1S:20:31 JAIL         BA OF .000 @ 1S20
06/05/2013 1S:15:24 JAIL         LE: BLEW .041AT1600
06/05/2013 14:07:20 JAIL         SAC@ 0.091 @ 1400 J10
01/07/2013 03:22:43 JAIL         REC PHONE CALL IN BOOKING JS
01/07/2013 02:44:13 JAIL         CHARGED BOOKING FEE FINGER PRINTS COMPLETE JS
01/07/2013 02:43:56 JAIL         .000 @ 0221 JS
01/06/2013 22:04:09 JAIL         JS REMOVED NOSE RING, PLACED IN PROPERTY
01/06/2013 21:22:56              .105 @2115 JS
01/06/2013 19:41:5S JAIL          l/M IS LAYING DOWN AND APPEARS TO BE SLEEPING
01/06/2013 19:03:29 BOOKING       LE REFUSED CHOW J10
01/06/2013 1S:4S:49 BOOKING       .147 ON PST@ 1S:42
                                                                                                                                   Case 1:15-cv-02507-JLK Document 65-3 Filed 05/08/17 USDC Colorado Page 2 of 2




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